               UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

             -vs-                                          Case No. 13-CR-2


CHARA HORTMAN,

                    Defendant.

                            DECISION AND ORDER


      Chara Hortman pled guilty to conspiracy to distribute five kilograms

or more of cocaine and heroin and conspiracy to commit money laundering.

The Court sentenced Hortman at the bottom of the guideline range (168

months). Amendment 782 to the United States Sentencing Guidelines

reduced Hortman’s guideline range to 135-168 months. Hortman moves for

a reduction in sentence to the bottom of the new guideline range.

      “[I]n the case of a defendant who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been

lowered by the Sentencing Commission …, the court may reduce the term

of imprisonment, after considering the factors set forth in section 3553(a) to

the extent that they are applicable, …” 18 U.S.C. § 3582(c)(2). The

government invokes the 3553(a) factors discussed at sentencing, such as


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the nature and circumstances of the offense and the history and

characteristics of the defendant. The Court already discussed and

considered those factors at sentencing and specifically concluded that this

case calls for a guideline sentence. ECF No. 353, Sentencing Minutes at 4.

Since the guideline range has been lowered, the sentence should be lowered

along with it.

       The government also suggests that the Court should hold a hearing

to present new evidence that wasn’t in the record at sentencing. The Court

declines this request. “Section 3582(c)(2)’s text, together with its narrow

scope, shows that Congress intended to authorize only a limited

adjustment to an otherwise final sentence and not a plenary re-sentencing

proceeding.” Dillon v. United States, 560 U.S. 817, 826 (2010).

       Hortman’s motion to reduce her sentence to 135 months [ECF No.

573] is GRANTED.

       Dated at Milwaukee, Wisconsin, this 21st day of April, 2016.

                                              SO ORDERED:


                                              __________________________
                                              HON. RUDOLPH T. RANDA
                                              U.S. District Judge




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